     Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                                CIVIL ACTION FILE NO.
v.
                                                1:18-CV-5391-SCJ
BRAD RAFFENSPERGER, et al.,

     Defendants.

                                          ORDER

        This matter appears before the Court for the purpose of pretrial

scheduling. After reviewing each parties’ respective scheduling proposals (Doc.

Nos. [637]; [638]) and holding a November 29, 2021 hearing, the Court rules as

follows.

        1.     Pursuant to the Court’s discretion to orderly manage the upcoming

               trial, the Court ORDERS that the cutoff date for the remaining

               discovery for all post-2018 election evidence is the January 5, 2021

               elections.1



1The Court recognizes Plaintiffs’ Counsel’s argument that evidence will continue to
mount until trial as well as Plaintiffs’ proposed December 2021 cutoff date. However, in
   Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 2 of 7




       2.     The parties shall exchange exhibit lists and the documents on their

              respective exhibit lists no later than DECEMBER 6, 2021. The exhibit

              lists should be exchanged in a format that is both searchable and

              sortable and the documents should be provided via an FTP site or

              other downloadable method.

       3.     By DECEMBER 7, 2021, Plaintiffs shall provide Defendants with the

              names and contact information for the anticipated twenty-five to

              forty potential witnesses likely to have discoverable information to

              support Plaintiffs’ claims and defenses and whose testimony relates

              to post-2018 election events pertaining to Plaintiffs’ remaining

              claims. At the time Plaintiffs identify the additional witnesses,

              Plaintiffs shall provide Defendants with any declarations (under

              penalty of perjury), witness statements, or summaries of the

              anticipated areas of testimony for each of the identified witnesses.



light of the fact that there were significant changes to Georgia election’s laws on
March 25, 2021 due to the passage of Senate Bill 202 (which is not being litigated in the
case sub judice), the Court deems it proper to limit the evidence to the elections occurring
prior to the passage of SB 202. See Brown v. Plata, 563 U.S. 493, 523 (2011) (indicating
that it was within the sound discretion of the court to impose a discovery cutoff date a
few months before trial and that “[o]rderly trial management may require discovery
deadlines . . . .”).
                                           2
Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 3 of 7




               a.    Defendants shall produce the “eNet” history of

                     each of Plaintiffs’ potential witnesses/declarants by

                     DECEMBER 14, 2021.

               b.    As soon as practicable after receiving the names of

                     Plaintiffs’ additional witnesses, but in any event no later

                     than    DECEMBER 14, 2021,         Defendants    shall   tell

                     Plaintiffs which of the witnesses Defendants intend to

                     depose.       Plaintiffs   shall    thereafter    facilitate

                     arrangements for any depositions (with Defendants

                     arranging for transcription). Those depositions can be

                     conducted, to the extent practicable, on multiple and

                     simultaneous tracks, and may be conducted via video

                     conference.

               c.    Defendants shall complete depositions of Plaintiffs’

                     newly      identified      declarant     witnesses       by

                     JANUARY 7, 2022.




                                    3
    Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 4 of 7




       4.     Defendants shall produce all election bulletins that concern

              post-2018 elections by DECEMBER 10, 2021.

       5.     The Court declines to order search terms and an additional

              electronically stored information (“ESI”) search. 2

       6.     Defendants shall identify any additional witnesses they may call in

              support of their claims and defenses related to post-2018 election

              matters no later than JANUARY 14, 2022. Plaintiffs may depose

              Defendants’ additional witnesses and obtain relevant documents




2 The Court recognizes that in their scheduling proposal, Plaintiffs included requests for
Rule 30(b)(6) depositions, electronically stored information searches, and document
production; however, in reviewing Plaintiffs’ Motion to Clarify or Modify Interlocutory
Orders (Doc. No. [631]), the Court notes that such discovery was not specifically
requested and the Court declines to reopen this case into full-blown discovery at this
late (trial) stage of the case, especially considering the significant amount of discovery
that has already been obtained and the limited amount of time remaining for proper
trial preparation for all involved in this case. See United States v. Easement & Right-of-
way Over 4.42 Acres of Land, 782 F. App’x 945, 951 n.3 (11th Cir. 2019) (indicating that
reopening of discovery is “another decision that is left to the broad discretion of the
district court” and accepting that there would be prejudice by having to take a large
number of deposition at a late stage of the case); Artistic Ent., Inc. v. City of Warner
Robins, 331 F.3d 1196, 1202 (11th Cir. 2003) (“Generally, a motion for additional
discovery is properly denied where a significant amount of discovery has already been
obtained and further discovery would not be helpful.”); see also EarthCam, Inc. v.
OxBlue Corp., 703 F. App’x 803, 814 (11th Cir. 2017) (“Because the impact on judicial
proceedings of extending discovery varies from case to case, district courts have
considerable leeway in handling discovery matters. The district court in this case struck
a careful balance between unwieldy discovery costs and the search for truth.”).
                                          4
    Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 5 of 7




             from Defendants in the advance of the depositions 3 with the

             exception that no additional 30(b)(6) depositions of the Secretary of

             State or State Election Board shall occur.

       7.    Plaintiff shall provide the supplemental expert reports of

             Drs. Adrienne Jones and Lorraine Minnite to Defendants by

             DECEMBER 3, 2021. The supplements shall only focus on specific

             post-2018 election evidence. Defendants shall notify Plaintiffs no

             later than DECEMBER 17, 2021 if they intend to conduct further

             depositions of Drs. Jones and Minnite. If Defendants conduct an

             additional deposition of either Dr. Jones or Dr. Minnite, those

             depositions shall be limited to the supplemental reports and shall be

             limited to no more than two hours in length.

       8.    Plaintiffs   shall   provide   a   supplemental   expert   report   of

             Kevin Kennedy to Defendants by DECEMBER 15, 2021. The

             supplemental expert report shall be limited to: correction of the

             Bates ranges for voter complaints in his original report and




3Defendants shall attempt to provide responsive documents on an expedited basis
pursuant to the statement in their proposed schedule. Doc. No. [638], 6 n.5.
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Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 6 of 7




         accounting for additional voter complaints (reviewed since his

         March 31, 2020 deposition and pertaining to post-2018 elections).

         Defendants may depose Mr. Kennedy but the deposition shall be

         limited to the contents of his supplemental report and shall be no

         more than two hours in length.

   9.    Plaintiffs shall provide a supplemental expert report of Dr. Kenneth

         R. Mayer to Defendants by DECEMBER 15, 2021. Defendants may

         depose Dr. Mayer but the deposition shall be limited to the contents

         of his supplemental report and shall be no more than two hours in

         length.

   10.   Unless otherwise specified herein, depositions are to be completed

         not later than JANUARY 21, 2022.

   11.   The Parties shall continue their discussions about the scope and

         timing of any additional discovery that they voluntarily agree to

         amongst themselves.

   12.   To keep discovery moving efficiently in anticipation of trial, the

         Parties shall report to the Court weekly on their progress and any

         disputes that may arise. The Parties’ status reports are due not later


                                  6
Case 1:18-cv-05391-SCJ Document 641 Filed 11/30/21 Page 7 of 7
